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                     EXHIBIT B



                Proposed Final Order
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

MARINER HEALTH CENTRAL, INC., et al.,1                  Case No. 22- 10877 (       )

                Debtors.                                (Joint Administration Requested)


 FINAL ORDER (I) DETERMINING ADEQUATE ASSURANCE OF PAYMENT FOR
  FUTURE UTILITY SERVICES, (II) PROHIBITING UTILITY PROVIDERS FROM
    ALTERING, REFUSING, OR DISCONTINUING UTILITY SERVICES, (III)
ESTABLISHING PROCEDURES FOR DETERMINING ADEQUATE ASSURANCE OF
 PAYMENT, (IV) REQUIRING UTILITY PROVIDERS TO RETURN DEPOSITS FOR
UTILITY SERVICES NO LONGER IN USE, AND (V) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this “Final Order”) (a) approving the

Debtors’ Proposed Adequate Assurance, (b) prohibiting Utility Providers from altering, refusing,

or discontinuing services, (c) approving the Debtors’ proposed procedures for resolving any

Additional Assurance Requests, (d) requiring Utility Providers to return deposits for Utility

Services no longer in use, and (e) granting related relief, all as more fully set forth in the Motion;

and upon the First Day Declaration; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that

venue of these proceedings and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408



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    The Debtors, along with the last four digits of each Debtors’ tax identification number, are Mariner
    Health Central, Inc. (6203), Parkview Holding Company GP, LLC (1536), and Parkview Operating
    Company, LP (7273). The Debtors’ headquarters are located at 3060 Mercer University Drive, Suite
    200, Atlanta, GA 30341.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
    terms in the Motion.
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and 1409; and this Court having found that the Debtors’ notice of the Motion and opportunity for

a hearing on the Motion were appropriate under the circumstances and no other notice need be

provided, except as set forth herein; and this Court having reviewed the Motion and having heard

the statements in support of the relief requested therein at a hearing before this Court (the

“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

         1.   The Motion is GRANTED on a final basis as set forth herein.

         2.   All Utility Providers are prohibited from altering, refusing, of discontinuing

services on account of any unpaid prepetition charges, the commencement of these chapter 11

cases, or any perceived inadequacy of the Proposed Adequate Assurance.

         3.   The following Adequate Assurance Procedures are hereby approved on a final

basis:


              a.      Subject to paragraphs (d)–(h) herein, to the extent not already deposited into
                      the Adequate Assurance Accounts, the Debtors will deposit the Adequate
                      Assurance Deposit, in the aggregate amount of $22,000, in the Adequate
                      Assurance Account as soon as practicable after entry of this Final Order.

              b.      Each Utility Provider, for Utility Services for which there is no Existing
                      Utility Deposit, shall be entitled to the funds in the Adequate Assurance
                      Account equal to or approximately one-half of the Utility Providers’
                      “average monthly bill” as reflected in the Utility Service List.

              c.      For any Utility Provider that is subsequently added to the Utility Services
                      List, the Debtors shall serve such Utility Provider with a copy of the Court’s
                      order regarding Utility Services, including the Adequate Assurance
                      Procedures, and increase the Adequate Assurance Deposit by an amount
                      equal to two weeks of the Debtors’ average cost of services from the
                      subsequently added Utility Provider.



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d.   If an amount relating to Utility Services provided postpetition by a Utility
     Provider is unpaid, and remains unpaid beyond any applicable grace period,
     such Utility Provider may request a disbursement from the Adequate
     Assurance Account by giving notice to: (i) proposed counsel to the Debtors,
     Raines Feldman LLP, 1350 Avenue of the Americas, 22nd Floor, New York,
     NY 10019-4801, Attn: Hamid R. Rafatjoo (hrafatjoo@raineslaw.com) and
     Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,
     P.O. Box 8705, Wilmington, DE 19899-8705, Attn: Laura Davis Jones
     (ljones@pszjlaw.com); (ii) counsel to any statutory committee appointed in
     these cases; and (iii) those parties requesting notice pursuant to Bankruptcy
     Rule 2002 (collectively, the “Notice Parties”). The Debtors shall honor
     such request within five business days after the date the request is received
     by the Debtors, subject to the ability of the Debtors and any such requesting
     Utility Provider to resolve any dispute regarding such request without
     further order of the Court. To the extent a Utility Provider receives a
     disbursement from the Adequate Assurance Account, the Debtors shall
     replenish the Adequate Assurance Account in the amount disbursed.

e.   Any Utility Provider desiring additional assurances of payment in the form
     of deposits, prepayments, or otherwise must serve a request for additional
     assurance (an “Additional Assurance Request”) on the Notice Parties.

f.   Any Utility Provider that objects to the Debtors’ Proposed Adequate
     Assurance must serve an Additional Assurance Request on the Notice
     Parties.

g.   Any Additional Assurance Request must: (i) be in writing; (ii) identify the
     location for which the Utility Services are provided; (iii) include the alleged
     outstanding balance for the affected account(s); (iv) certify the amount that
     is equal to one-half the average monthly cost of the Utility Services the
     Utility Provider supplies to the Debtors over the prior 12 months; (v) certify
     that the Utility Provider does not already hold a deposit equal to or greater
     than one-half the monthly cost of Utility Services; (vi) provide evidence
     that the Debtors have a direct obligation to the Utility Provider; and (vii)
     explain why the Utility Provider believes the Proposed Adequate Assurance
     is not sufficient adequate assurance of future payment.

h.   Any Utility Provider who does not file an Additional Assurance Request
     shall be: (i) deemed to have received adequate assurance of payment
     “satisfactory” to such Utility Provider in compliance with section 366 of the
     Bankruptcy Code; and (ii) forbidden to discontinue, alter, or refuse services
     to, or discriminate against, the Debtors on account of any unpaid prepetition
     charges, or require additional assurance of payment other than the Proposed
     Adequate Assurance.

i.   Upon the Debtors’ receipt of an Additional Assurance Request, the Debtors
     shall have 21 calendar days from the receipt of the Additional Assurance

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                      Request (the “Resolution Period”) to negotiate with the Utility Provider to
                      resolve the Utility Provider’s Additional Assurance Request.

               j.     Without further order of the Court, the Debtors may enter into agreements
                      granting additional adequate assurance to a Utility Provider serving an
                      Additional Assurance Request if the Debtors determine that the Additional
                      Assurance Request is reasonable.

               k.     If the Debtors determine that the Additional Assurance Request is not
                      reasonable and the Debtors are unable to reach an alternative resolution with
                      the Utility Provider, the Debtors, during or immediately after the Resolution
                      Period, will request a hearing (a “Determination Hearing”) before the Court
                      at the next scheduled omnibus hearing to determine the adequacy of
                      assurance of payment with respect to that Utility Provider pursuant to
                      section 366(c)(3) of the Bankruptcy Code.

               l.     Pending resolution of such dispute at a Determination Hearing, the relevant
                      Utility Provider shall be prohibited from altering, refusing, or discontinuing
                      service to the Debtors.

               m.     The Adequate Assurance Deposit deposited into the Adequate Assurance
                      Account of behalf of any Utility Provider (including any additional amount
                      deposited upon request of any applicable Utility Provider), or any portion
                      thereof, shall be returned to the Debtors, less any amounts owed on account
                      of unpaid, postpetition Utility Services, by no later than five business days
                      following the earlier of the date upon which (i) a chapter 11 plan becomes
                      effective after being confirmed in these chapter 11 cases or (ii) the Debtors
                      provide notice to a Utility Provider that services provided to the Debtors by
                      such Utility Provider will no longer be needed or will be reduced.



       4.      The Utility Providers are prohibited from requiring additional adequate assurance

of payment other than pursuant to the Adequate Assurance Procedures.

       5.      The Debtors will cause a copy of this Final Order, including the Adequate

Assurance Procedures, to be served on any subsequently identified Utility Provider, and any such

Utility Provider shall be bound by the Adequate Assurance Procedures.

       6.      Any landlord that pays directly for Utility Services for the benefit of the Debtors

pursuant to a nonresidential real property lease must continue paying for such Utility Services in

the ordinary course of business and may not cease, reduce, delay, or otherwise interfere with the


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payment or delivery of such Utility Services, regardless of any nonpayment, deferral, or waiver of

rent, or any defaults with respect to the applicable lease; provided that a landlord may cease

payments on account of Utility Services following the effective date of the rejection of the

applicable lease pursuant to section 365 of the Bankruptcy Code, if any.

       7.      Upon the Debtors’ discontinuation of any Utility Services, the Debtors may, in their

discretion and without further order of this Court, reduce the Adequate Assurance Deposit by an

amount not exceeding, for each of the Utility Services being discontinued, the lesser of (i) the

estimated two-week utility expense for such Utility Services and (ii) the amount of the Adequate

Assurance Deposit then attributable to the applicable Utility Provider; provided that for any Utility

Provider for which the Adequate Assurance Deposit is reduced, the Debtors shall have (i) provided

such Utility Provider with fourteen (14) days’ notice of such reduction and (ii) paid such Utility

Provider in full for any outstanding postpetition Utility Services before reducing the Adequate

Assurance Deposit.

       8.      Notwithstanding the relief granted in this Final Order and any actions taken

pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

validity of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

party in interest’s right to dispute any particular claim on any grounds; (c) a promise or requirement

to pay any particular claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Final Order or the Motion; (e) a request or authorization to assume any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

limitation of the Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any

other applicable law; or (g) a concession by the Debtors or any other party in interest that any liens

(contractual, common law, statutory, or otherwise) satisfied pursuant to this Final Order are valid



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and the Debtors and all other parties in interest expressly reserve their rights to contest the extent,

validity, or perfection or to seek avoidance of all such liens. Any payment made pursuant to this

Final Order should not be construed as an admission as to the validity of any particular claim or a

waiver of the Debtors’ or any other party in interest’s rights to subsequently dispute such claim.

       9.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       10.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       11.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

       12.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

       13.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Final Order.




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